      8:12-cv-00096-LES-FG3 Doc # 1 Filed: 03/07/12 Page 1 of 4 - Page ID # 1



                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

MID-AMERICAN BENEFITS, INC,
a Nebraska corporation, and
THE NEBRASKA ASSOCIATION OF
RESOURCE DISTRICTS, a Nebraska                          CASE NO. 8:12-cv-96
non-profit corporation,                                NOTICE OF REMOVAL
             Plaintiffs,
v.

RMTS, LLC, a New York limited liability
company, and
NATIONWIDE LIFE INSURANCE
COMPANY, an Ohio corporation,

             Defendants.


TO:    Mid-American Benefits, Inc., The Nebraska Association of Resource Districts,
       their attorneys, Milton A. Katskee and Melvin R. Katskee, and the Clerk of the
       United States District Court for the District of Nebraska.

       Defendants RMTS, LLC (“RMTS”) and Nationwide Life Insurance Company

(“Nationwide”), by an through counsel and pursuant to 28 U.S.C. §§ 1441(a) and 1446,

give notice of the removal of this action from the District Court of Douglas County,

Nebraska, to the United States District Court for the District of Nebraska. In support of

this Notice of Removal, RMTS and Nationwide state as follows:

       1.    On February 2, 2012, Plaintiffs Mid-American Benefits, Inc. (“Mid-

American”) and The Nebraska Association of Resource Districts (“NARD”) filed this

action against RMTS and Nationwide in the District Court of the State of Nebraska in

and for Douglas County, captioned Mid-American Benefits, Inc., et al. v. RMTS, LLC, et

al., Case No. CI 12-860.      RMTS was served with a Summons and copy of the

Complaint via certified mail on February 8, 2012.       Nationwide was served with a

Summons and a copy of the Complaint via certified mail on February 6, 2012. Copies
     8:12-cv-00096-LES-FG3 Doc # 1 Filed: 03/07/12 Page 2 of 4 - Page ID # 2



of the Complaint, the Summons served on RMTS, and the Summons served on

Nationwide are attached to this Notice of Removal as Exhibit A, Exhibit B, and Exhibit

C, respectively. Copies of all other documents filed in the District Court of Douglas

County are attached to this Notice of Removal as Exhibit D.

       2.     The Complaint filed by Mid-American and NARD alleges a breach of an

insurance contract between NARD and Nationwide.

       3.     This Notice of Removal is filed pursuant to 28 U.S.C. § 1441 within the

time limits prescribed by 28 U.S.C. § 1446(b).

       4.     As set forth in the Complaint, Mid-American is a corporation organized

and existing under the laws of the State of Nebraska, and NARD is non-profit

corporation organized and existing under the laws of the State of Nebraska. Upon

information and belief, both Mid-American and NARD have their principal place of

business located within the State of Nebraska.

       5.     RMTS is a limited liability company organized and existing under the laws

of the State of New York, with its principal place of business located in the State of New

York. None of the members of RMTS is a citizen of the State of Nebraska.

       6.     Nationwide is a corporation organized and existing under the laws of the

State of Ohio, with its principal place of business located in the State of Ohio.

       7.     Complete diversity of citizenship exists between Mid-American and NARD,

on the one hand, and RMTS and Nationwide on the other.

       8.     The alleged monetary damages sought by Mid-American and NARD

exceed the sum or value of $75,000, exclusive of interest and costs.




                                             2
     8:12-cv-00096-LES-FG3 Doc # 1 Filed: 03/07/12 Page 3 of 4 - Page ID # 3



       9.     Accordingly, this action is one over which this Court has original

jurisdiction under 28 U.S.C. § 1332(a) and that is removable pursuant to 28 U.S.C.

§ 1441(a).

       10.    RMTS and Nationwide are removing this action to the federal district court

embracing the place where the state court action was filed, as required by 28 U.S.C.

§ 1441(a).

       11.    RMTS and Nationwide will promptly give written notice of the filing of this

Notice of Removal to Mid-American and NARD, as required by 28 U.S.C. § 1446(d).

       12.    A copy of this Notice of Removal will promptly be filed with the District

Court of Douglas County, Nebraska, as required by 28 U.S.C. § 1446(d).

       13.    By filing this Notice of Removal, RMTS and Nationwide do not waive any

of their affirmative defenses, including but not limited to their right to move to dismiss for

lack of personal jurisdiction, improper process, improper service of process, improper

venue, failure to state a claim, or failure to join a necessary party.

       14.    RMTS and Nationwide will move, plead, or otherwise respond to the

Complaint in this Court within the time prescribed by Rule 81(c)(2) of the Federal Rules

of Civil Procedure.

       WHEREFORE, Defendants RMTS, LLC and Nationwide Life Insurance Company

remove this action from the District Court of Douglas County, Nebraska, to the United

States District Court for the District of Nebraska.

                            REQUEST FOR PLACE OF TRIAL

       Pursuant to Rule 40.1(b) of the Civil Rules of the United States District Court for

the District of Nebraska, Defendants RMTS, LLC and Nationwide Life Insurance

Company respectfully request that the trial of this action be held in Omaha, Nebraska.

                                              3
     8:12-cv-00096-LES-FG3 Doc # 1 Filed: 03/07/12 Page 4 of 4 - Page ID # 4



By making this request solely to comply with Rule 40.1(b), Defendants do not waive any

of their affirmative defenses, including but not limited to lack of personal jurisdiction,

improper process, improper service of process, improper venue, failure to state a claim,

or failure to join a necessary party.


       Dated this 7th day of March, 2012


                                        RMTS, LLC and NATIONWIDE LIFE
                                        INSURANCE COMPANY, Defendants,



                                        By: s/Christopher R. Hedican
                                            Christopher R. Hedican (NE# 19744)
                                        of  BAIRD HOLM LLP
                                            1500 Woodmen Tower
                                            1700 Farnam St
                                            Omaha, NE 68102-2068
                                            Phone: 402-344-0500
                                            Fax: 402-344-0588
                                            Email: chedican@bairdholm.com




                               CERTIFICATE OF SERVICE

        I hereby certify that on March 7, 2012, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system which sent notification of such filing to the
following:

       Milton A. Katskee, Esq.
       Melvin R. Katskee, Esq.


and I hereby certify that I have mailed by United States Postal Service, postage prepaid,
this document to the following non CM/ECF participants:

       None.

                                                  s/Christopher R. Hedican



                                             4
